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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH)

                                    Debtors.1                           (Jointly Administered)

                                                                        Re: Docket No. 917

                                                            Hearing Date: December 20, 2023 at 3:00 p.m. (ET)
                                                       Objection Deadline: December 19, 2023 at 5:00 p.m. (ET)

    NOTICE OF DEBTORS’ MOTION FOR (I) AN ORDER (A) APPROVING BID
 PROCEDURES FOR THE SALE OF THE DEBTORS’ LAB-TO-MARKET™ ASSETS;
(B) SETTING MINIMUM RESERVE PRICE; (C) SCHEDULING THE AUCTION AND
    SALE HEARING; (D) APPROVING THE FORM AND MANNER OF NOTICE
   THEREOF; AND (E) GRANTING RELATED RELIEF; AND (II) AN ORDER OR
  ORDERS (A) APPROVING THE SALE OF THE DEBTORS’ LAB-TO-MARKET™
ASSETS FREE AND CLEAR OF ALL ENCUMBRANCES; AND (B) APPROVING THE
     ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS AND
                          UNEXPIRED LEASES

TO:      (a) the Office of the U.S. Trustee for the District of Delaware; (b) counsel to the Official
         Committee of Unsecured Creditors; (c) counsel to the DIP Lenders, DIP Agent and the
         Foris Prepetition Secured Lenders; (d) co-counsel to the DIP Lenders, the DIP Agent and
         the Foris Prepetition Secured Lenders; (e) the United States Attorney’s Office for the
         District of Delaware; (f) the state attorneys general for all states in which the Debtors
         conduct business; (g) the Securities Exchange Commission; (g) all parties reasonably
         known to the Debtors that assert liens, claims, and encumbrances, and other interests with
         respect to the Assets; (h) all entities known to have expressed an interest in bidding on the
         Assets; (j) the Internal Revenue Service, the Securities and Exchange Commission, and
         any other federal, state or local governmental agency to the extent required by the
         Bankruptcy Code, the Bankruptcy Rules, the Local Rules, or order of the Court; and (h)
         any party that requests service pursuant to Bankruptcy Rule 2002.

         PLEASE TAKE NOTICE that on December 14, 2023, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”), filed the Motion for (I) An Order (A) Approving


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    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
    100, Emeryville, CA 94608.



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Bid Procedures for the Sale of the Debtors’ Lab-to-Market™ Assets; (B) Setting Minimum Reserve

Price; (C) Scheduling the Auction and Sale Hearing; (D) Approving the Form and Manner of

Notice Thereof; and (E) Granting Related Relief; and (II) An Order or Orders (A) Approving the

Sale of the Debtors’ Lab-to-Market™ Assets Free and Clear of All Encumbrances; and (B)

Approving the Assumption and Assignment of Executory Contracts and Unexpired Leases (the

“Motion”) [Docket No. 917] with the United States Bankruptcy Court for the District of Delaware,

824 Market Street, 3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy Court”). A copy of

the Motion was previously served upon you.

         PLEASE TAKE FURTHER NOTICE that any response or objection to the Motion must

be filed with the Bankruptcy Court on or before December 19, 2023 at 5:00 p.m. (Eastern Time).

         PLEASE TAKE FURTHER NOTICE that at the same time, you must also serve a copy

of the response or objection upon: (1) counsel for the Debtors, (a) Pachulski Stang Ziehl & Jones

LLP, 919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19899-8705 (Courier

19801),      Attn:      James   E.   O’Neill    (joneill@pszjlaw.com)     and   Steven   W.   Golden

(sgolden@pszjlaw.com); and (b) Pachulski Stang Ziehl & Jones LLP, One Sansome Street, Suite

3430, San Francisco, CA 94104, Attn: Debra I. Grassgreen (dgrassgreen@pszjlaw.com) and

Maxim B. Litvak (mlitvak@pszjlaw.com); (2) counsel to the DIP Lenders and the DIP Agent

(collectively, the “DIP Secured Parties”) and the Foris Prepetition Secured Lenders (together with

the DIP Secured Parties, the “Secured Parties”), (a) Goodwin Procter LLP, 620 Eighth Avenue,

New York, NY 10018, Attn: Michael H. Goldstein, Esq. (mgoldstein@goodwinlaw.com),

Alexander J. Nicas, Esq. (anicas@goodwinlaw.com), and Debora A. Hoehne, Esq.

(dhoehne@goodwinlaw.com); and (b) Troutman Pepper Hamilton Sanders LLP, Hercules Plaza,

Suite 5100, 1313 N. Market Street, P.O. Box 1709, Wilmington, DE 19899; Attn: David M.




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Fournier, Esq. (david.fournier@troutman.com); (3) counsel to the Committee, White & Case LLP,

1221 Avenue of the Americas, New York, NY 10020-1095; Attn: Gregory Pesce, Esq.

(gregory.pesce@whitecase.com), Andrew O’Neill, Esq. (aoneill@whitecase.com), and John

Ramirez, Esq. (john.ramirez@whitecase.com); and co-counsel to the Committee, Potter Anderson

& Corroon LLP, 1313 North Market Street, 6th Floor, Wilmington, DE 19801; Attn: Christopher

M.       Samis,        Esq.     (csamis@potteranderson.com),   Katelin     A.    Morales,   Esq.

(kmorales@potteranderson.com), Sameen Rizvi, Esq. (srizvi@potteranderson.com); (4) counsel

for the Ad Hoc Noteholder Group, Paul Hastings LLP, 1999 Avenue of the Stars, Twenty-Seventh

Floor, Century City, CA 90067, Attn.: Frank Merola, Esq. (frankmerola@paulhastings.com); Paul

Hastings LLP, 200 Park Avenue, New York, NY 10166, Attn.: John F. Storz, Esq.

(johnstorz@paulhastings.com); and Blank Rome, 1201 N. Market Street, Suite 800, Wilmington,

DE 19801, Attn.: Stanley B. Tarr, Esq. (stanley.tarr@blankrome.com); and (5) the Office of The

United States Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801, Attn:

John Schanne (John.Schanne@usdoj.gov) (collectively, the “Notice Parties”).

         PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT THE

RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

         PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER THE

RELIEF SOUGHT IN THE MOTION WILL BE HELD ON DECEMBER 20, 2023 AT 3:00

P.M. (PREVAILING EASTERN TIME) BEFORE THE HONORABLE THOMAS M.

HORAN, UNITED STATES BANKRUPTCY COURT JUDGE, AT THE UNITED STATES

BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH MARKET

STREET, 3RD FLOOR, WILMINGTON, DELAWARE 19801.




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 Dated: December 15, 2023                   PACHULSKI STANG ZIEHL & JONES LLP

                                            /s/ James E. O’Neill
                                            Richard M. Pachulski (admitted pro hac vice)
                                            Debra I. Grassgreen (admitted pro hac vice)
                                            James E. O’Neill (DE Bar No. 4042)
                                            Jason H. Rosell (admitted pro hac vice)
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                                            Counsel to the Debtors and Debtors in Possession




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